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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHAD REINER et al.,                              No. 4:24-CV-00493

          Plaintiffs,                            (Chief Judge Brann)

     v.

NORTHUMBERLAND COUNTY et
al.,

          Defendants.

                                  ORDER

                                MAY 15, 2024

     In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that:

     1.   Defendant Community Life Team’s Motion to Dismiss (Doc. 6) is

          GRANTED; and

          a.     All counts (Counts I, II, III, IV, and V) against Community Life

                 Team are dismissed without prejudice.

     2.   Defendants Kymberly L. Best, Russell Fellman, Joseph M. Klebon,

          Samuel J. Schiccatano, Northumberland County, and Northumberland

          County Board of Commissioners’ Motion to Dismiss (Doc. 3) is

          GRANTED; and

          a.     All counts (Counts I and II) against these defendants are

                 dismissed with prejudice.
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3.   The Clerk of Court is directed to CLOSE this case.

                                    BY THE COURT:


                                    s/ Matthew W. Brann
                                    Matthew W. Brann
                                    Chief United States District Judge
